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 5
      Attorney for Plaintiff JERRY JACKSON
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 8
                                 UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA

10
      JERRY JACKSON,                                  Case No. 3:21-cv-00327-WQH-RBB
11
                                                      JOINT MOTION OF DISMISSAL
12                                     Plaintiff,     PURSUANT TO FEDERAL RULE OF
                                                      CIVIL PROCEDURE 41(A)(1)(A)(II); &
13
                     vs.                              ORDER THEREON.
14
      CLAIM JUMPER ACQUISITION
15    COMPANY LLC dba CLAIM JUMPER,
      et al.
16
                                  Defendants.
17

18

19                                                  MOTION

20           The Plaintiff, Jerry Jackson and Defendants, Claim Jumper Acquisition Company, LLC

21    dba Claim Jumper and Felco Hotel Asset Company, LLC, hereby apply that this complaint may

22    be dismissed, with prejudice. Each party shall bear their own attorney fees and costs.

23           The dismissal is made pursuant to F.R. Civ. P. 41(a)(1)(A)(ii).

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 3    Dated: _10/04/21_____                   /s/ Michael a. Taibi, Esq._______________
                                              MICHAEL A. TAIBI, ESQ
 4                                            Attorney for Plaintiff
                                              JERRY JACKSON
 5

 6
      Dated: _10/04/21_____                   /s/ Connie L. Benson, Esq.___________
 7                                            Connie L. Benson, Esq.
                                              Attorney for the Defendant
 8                                            CLAIM JUMPER ACQUISITION
                                              COMPANY LLC dba CLAIM JUMPER
 9

10    Dated: __10/04/21_____                  /s/ Christine M. Fitzgerald___________
                                              Christine M. Fitzgerald, Esq.
11
                                              Attorney for the Defendant
12                                            FELCO HOTEL ASSET COMPANY, LLC

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 1

 2
                                       SIGNATURE CERTIFICATION
 3
             Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies and
 4
      Procedures Manual, I hereby certify that the content of this document is acceptable to Connie L.
 5
      Benson, Esq., counsel for Claim Jumper Acquisition Company, LLC dba Claim Jumper and
 6
      Christine M. Fitzgerald, Esq., counsel for Felco Hotel Asset Company, LLC. I have obtained
 7
      authorization from the afore-referenced attorneys to affix their electronic signature to this
 8

 9    document.

10

11

12    Dated: _10/04/21____                          /s/ Michael A. Taibi, Esq.________________
                                                    /s/ Michael A. Taibi, Esq.
13                                                  Attorney for the Plaintiff
                                                    JERRY JACKSON
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     Case 3:21-cv-00327-WQH-RBB Document 19 Filed 10/04/21 PageID.132 Page 4 of 4




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 2
                                        CERTIFICATE OF SERVICE
 3                                       3:21-cv-00327-WQH-RBB

 4
      I, Michael A. Taibi, Esq, certify and declare as follows:
 5
             I am over the age of 18-years and not a party to this action.
 6
             My business address is 401 West A Street, Suite 320, San Diego, California 92101,
 7
      which is located in the city, county, and state where the mailing described below took place.
 8

 9           I do hereby certify that the foregoing was served electronically via the Court’s electronic

10    filing system this _4th____ day of October 2021, to all parties of record:

11           JOINT MOTION OF DISMISSAL PURSUANT TO FEDERAL RULE OF CIVIL
             PROCEDURE 41(a)(1(A)(ii).
12
             I swear and declare under penalty of perjury under the laws of the United States of
13
      America and the State of California that the foregoing is true and correct to the best of my
14
      knowledge.
15

16

17    Executed this _4th_day of October 2021, at San Diego, California.

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19

20    /s/ Michael A. Taibi, Esq.
      Michael A. Taibi, Esq.
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      Attorney for the Plaintiff
22    JERRY JACKSON

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